                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN


FIDELITY AND DEPOSIT COMPANY
OF MARYLAND,
           Plaintiff,

       v.                                             Case No. 13-C-1291

EDWARD E. GILLEN COMPANY, et al.,
           Defendants.
______________________________________________________________________

                                DECISION AND ORDER

       In 2010, defendant Edward E. Gillen Company (“Gillen”), a marine construction

firm, became part of a joint venture with other companies.         The Public Building

Commission of Chicago selected the joint venture as the general contractor for a harbor

construction project, which the parties refer to as the “31st Street Harbor Project.” The

plaintiff here, Fidelity & Deposit Company of Maryland (“F&D”), issued a surety bond to

ensure the joint venture’s performance. The amount of the bond is more than $30

million.

       To complete the project, the joint venture subcontracted some of the construction

work to Gillen. Gillen, in turn, entered into agreements with other subcontractors, who

supplied labor and materials.     F&D alleges that, in 2012, Gillen defaulted on its

obligations by failing to pay the subcontractors.    Following the default, the unpaid

subcontractors filed at least seventeen separate lawsuits against Gillen in the Circuit

Court of Cook County. F&D, as the surety, was named as a defendant in each of the

suits. Many of those suits have since been resolved. However, several suits remain




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pending, and F&D alleges that the remaining plaintiffs in those suits claim that Gillen

owes them a total of $2,563,207.96.

         F&D commenced this action against Gillen and other defendants in 2013,

alleging that the defendants had breached various obligations to protect F&D as the

surety for the 31st Street Harbor Project. Since then, the parties have settled a large

portion of the case, including all claims against the defendants other than Gillen. The

sole remaining claim is F&D’s claim against Gillen based on the equitable doctrine of

quia timet. The parties have filed cross-motions for summary judgment on this claim,

which I address in this order.

         Quia timet is a somewhat obscure equitable doctrine that applies in the

suretyship context, along with the doctrines of exoneration and reimbursement. All of

these doctrines relate to a surety’s right to require the principal obligor (which in this

case is Gillen, as one of the parties to the joint venture) to perform the underlying

obligation. See Peter A. Alces, The Law of Suretyship and Guarantee § 6:6 (Westlaw

2018).     The doctrine that applies depends on the timing of the surety’s action.

Reimbursement, as the name implies, is asserted after a surety has already made

payments under the bond. See id. § 6:13. But the law does not require a surety to wait

until it has made payment to seek relief against the principal, and this is where the

doctrines of exoneration and quia timet step in. See Admiral Oriental Line v. United

States, 86 F.2d 201, 204 (2d Cir. 1936) (a surety “is not obliged to make inroads into his

own resources when the loss must in the end fall upon the principal”). The doctrine of

exoneration applies at the time when the performance of the underlying obligation is

due, but has not been paid. See Alces, supra, § 6:13. In an action for exoneration, a

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surety seeks to compel the principal to satisfy the obligation before the creditor calls

upon the surety to do so. See Dobie v. Fid. & Cas. Co. of New York, 95 Wis. 540, 483

(1897) (“It seems to be well settled that a surety against whom a judgment has been

rendered may, without making payment himself, proceed in equity against his principal

to subject the estate of the latter to the payment of the debt, in exoneration of the

surety.”).    Quia timet, in contrast, is available to the surety before payment of the

underlying obligation is even due. See Alces, supra, § 6:13. In general, an action for

quia timet, which is Latin for “because he fears,” can be brought when the surety fears

that the principal will not perform the obligation when it comes due. The object of a

claim for quia timet is to require the principal to provide cash collateral to the surety to

secure the principal’s future performance. See Borey v. Nat’l Union Fire Ins. Co., 934

F.2d 30, 32 (2d Cir. 1991) (“Quia timet is the right of a surety to demand that the

principal place the surety ‘in funds’ when there are reasonable grounds to believe that

the surety will suffer a loss in the future because the principal is likely to default on its

primary obligation to the creditor.”).

       In the present case, F&D pleaded claims for both exoneration and quia timet.

See Third Am. Compl., Count IV, ECF No. 98.            However, in one of its summary-

judgment briefs, F&D states that it is no longer seeking exoneration. Br. in Supp. of

Cross-Mot. for Summ. J. at 9, ECF No. 150. Thus, the only question remaining is

whether F&D is entitled to the equitable remedy of quia timet.

       In seeking quia timet, F&D contends that it reasonably fears having to pay, at

some point in the future, more than $2 million to Gillen’s subcontractors. F&D believes

that when Gillen’s liability to the subcontractors is finally determined, Gillen will be

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unable to pay the amounts owed because it is insolvent and, as of February 2012, “had

no assets.” See Reply Br. at 9, ECF No. 155; see also Br. in Supp. at 6–8 (identifying

facts suggesting that Gillen is insolvent and cannot pay the underlying obligations). But

if F&D is correct, then it would be impossible for Gillen to now provide F&D with the

collateral it seeks, namely, “$2,349,582.97 in cash or cash equivalents.” Cross-Mot. for

Summ. J. at 1, ECF No. 146. Simply put, if Gillen has no asserts and cannot now pay

the amounts that it will eventually owe to the subcontractors, then it is too late for F&D

to obtain quia timet, as the whole point of the doctrine is to prevent a principal from

absconding with cash that it currently has. See, e.g., Escrow Agents’ Fid. Corp. v.

Superior Court, 4 Cal.App.4th 491, 496 (1992) (stating that purpose of quia timet is to

prevent the principal from “abscond[ing] with the very funds which could have been

used to satisfy the bond”).

       F&D has not explained how it expects a company with no assets to pay more

than $2 million in cash. Perhaps F&D suspects that Gillen has the ability to post the

collateral. But if that is so, then how could F&D reasonably fear that Gillen will not pay

the obligations when they are due? F&D does not point to any facts suggesting that

Gillen is in the process of depleting its assets, or that, once the smoke clears in the

Illinois litigation, Gillen will refuse to pay the subcontractors what they are owed. F&D’s

only stated concern is that Gillen is broke and therefore can’t pay the subcontractors.

But if Gillen is broke, then quia timet is not an available remedy. Accordingly, F&D is

not entitled to relief.

       For the reasons stated, IT IS ORDERED that Gillen’s motion for summary

judgment (ECF No. 136) is GRANTED.

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      IT IS FURTHER ORDERED that F&D’s motion for summary judgment (ECF No.

146) is DENIED.

      FINALLY, IT IS ORDERED that the Clerk of Court shall enter final judgment.

      Dated at Milwaukee, Wisconsin, this 23rd day of April, 2018.



                                              s/Lynn Adelman________
                                              LYNN ADELMAN
                                              United States District Judge




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